
USCA1 Opinion

	










          June 25, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 95-2143

                              JAMES PETER KYRICOPOULOS,
                                Plaintiff, Appellant,

                                          v.

                          PHILLIP A. ROLLINS, ETC., ET AL.,
                                Defendants, Appellees.
                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                  [Hon. George A. O'Toole, Jr., U.S. District Judge]
                                                ___________________
                                 ____________________

                                        Before

                                 Selya, Cyr and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            James Peter Kyricopoulos on brief pro se.
            ________________________
            Scott  Harshbarger,  Attorney  General, and  William  J. Duensing,
            __________________                           ____________________
        Assistant Attorney General, on brief for appellees  Philip A. Rollins,
        District Attorney for the Cape and Islands, et al.
            Pamela J.  Fitzgerald and  Brody, Hardoon,  Perkins  &amp; Kesten,  on
            _____________________      __________________________________
        brief for appellees, Town of  Orleans Police Department and Lieutenant
        Lucien Ozon.
            Donald  K. Stern,  United  States Attorney,  Loretta  C.  Argrett,
            ________________                             ____________________
        Assistant  Attorney General,  and Gary  R.  Allen, Richard  Farber and
                                          _______________  _______________
        Curtis  C.  Pett,  Attorneys,  Tax Division,  Department  of  Justice,
        ________________
        Washington, D.C., on brief for federal appellee.
            Carmen  L. Durso and  Lynne A.  Tatirosian on  brief for appellees
            ________________      ____________________
        John Perrone and Donald Jennings.

                                 ____________________


                                 ____________________

                      Per  Curiam.   Appellant  James Peter  Kyricopoulos
                      ___________
















            appeals from the dismissal  of his complaint, filed  under 42

            U.S.C.    1983.  After  carefully reading the  record and the

            parties'  briefs, we  affirm  the district  court's judgment,

            except as  to Counts 1, 3,  4, 7, 9, and  10, for essentially

            the reasons stated in the court's Memorandum and Order, dated

            October 5, 1995.  We affirm the  dismissal of these counts on

            different grounds.

                      The  district court reasonably  construed Counts 1,

            3,  4, 7,  9,  and 10  as  challenging, as  unconstitutional,

            plaintiff's convictions  in three  state cases.   The court's

            conclusion  that these  claims were time-barred,  however, is

            mistaken.   In Heck v. Humphrey,  114 S. Ct. 2364 (1994), the
                           ____    ________

            Supreme Court held that "a   1983 cause of action for damages

            attributable  to an  unconstitutional conviction  or sentence

            does not  accrue until the  conviction or  sentence has  been

            invalidated."  Id.  at 2374.   Therefore, if  "a judgment  in
                           ___

            favor of the plaintiff would necessarily imply the invalidity

            of his conviction  or sentence . . . ,  the complaint must be

            dismissed  unless the  plaintiff  can  demonstrate  that  the

            conviction or sentence has already been invalidated."  Id. at
                                                                   ___

            2372.  Heck applies  retroactively to this case.   See, e.g.,
                   ____                                        ___  ____

            Boyd  v. Biggers,  31  F.3d 279,  282  n.2 (5th  Cir.  1994).
            ____     _______

            Because   none   of   plaintiff's   convictions   have   been







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            invalidated,  these  counts are  not cognizable  in a    1983

            action.

                      Notwithstanding  Heck, we  affirm the  dismissal of
                                       ____

            counts  1, 9  and  10 on  the  ground of  absolute  immunity,

            insofar as they name as defendants various District Attorneys

            and assistant district attorneys.   Here, Counts 1, 9  and 10

            essentially  allege that  the prosecutors  conspired to  have

            plaintiff falsely prosecuted.  Because  such conduct involves

            the initiation  and presentation  of the state's  case, these

            defendants  are  absolutely  immune  from  this  action   for

            damages.   See Buckley v. Fitzsimmons, 509 U.S. 259, 269, 272
                       ___ _______    ___________

            (1993).

                      Counts 4 and 7 make charges against two state trial

            judges.  These judges are  absolutely immune from this action

            in  the absence  of  any indication  that they  acted outside

            their "judicial jurisdiction."   See Pierson v. Ray, 386 U.S.
                                             ___ _______    ___

            547, 553-54 (1967).  There is no such indication here.

                      Finally,  we reject  the  remainder of  appellant's

            arguments.    First, the  district  court did  not  abuse its

            discretion  in  dismissing  the  complaint  before  plaintiff

            conducted discovery.   Fed. R. Civ.  P. 12(b)(6) specifically

            is  designed  to  streamline  litigation  and  do  away  with

            "needless  discovery"  by  permitting  a  district  court  to

            dismiss  a  claim where  relief on  that  claim could  not be

            granted under any facts plaintiff could prove consistent with



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            his allegations.  Neitzke  v. Williams, 490 U.S.  319, 326-27
                              _______     ________

            (1989).    Further, plaintiff  had over  a  year in  which to

            conduct discovery,  but did nothing.   Second, appellant must

            raise issues regarding the district court judge's bias in the

            first  instance in  the  district court.    See Thibeault  v.
                                                        ___ _________

            Square D. Co., 960 F.2d 239, 243 (1st Cir. 1992) (relief must
            _____________

            be  sought  in the  district court  before  asking for  it on

            appeal).

                      The judgment  of  the district  court is  affirmed.
                                                                ________

            Appellant's motion for summary disposition is denied.
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